     Case 1:18-cr-00002-JLT-SKO Document 157 Filed 07/27/20 Page 1 of 2


 1   Kevin G. Little, SBN 149818
     LAW OFFICE OF KEVIN G. LITTLE
 2   Post Office Box 8656
     Fresno, California 93747
 3   Telephone: (559) 342-5800
     Facsimile: (559) 242-2400
 4   E-Mail: kevin@kevinglittle.com
 5   Attorneys for Defendant John Doe, aka Marcos Castro
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9            FOR THE EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
10
11    UNITED STATES OF AMERICA,              )     Case №: 1:18-CR-00002-NONE-SKO
                                             )
12                 Plaintiff,                )     STIPULATION TO EXTEND TIME FOR
                                             )     FILING REPLIES AND ORDER
13          vs.                              )
                                             )
14    ISRAEL ALBERTO RIVAS GOMEZ:            )
      JOHN DOE aka “Marcos Castro,”          )
15                                           )
                   Defendants.               )
16                                           )
                                             )
17                                           )
18          Defendant Macros Castro by and through his Attorney Kevin G. Little, and the
19   United States of America, by and through McGREGOR W. SCOTT, United States
20   Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, hereby
21   stipulate to extend the time for Defendant to file replies to the Government’s oppositions.
22          The parties have agreed to extend the time for filing of defendant’s replies from
23   July 27, 2020 until August 3, 2020.
24   Dated: July 25, 2020                                    /s/ Kevin G. Little
                                                             KEVIN LITTLE
25
                                                             Attorney for Defendant
26                                                           Marcos Castro
27
28
                                                 -1-
               STIPULATION TO EXTEND TIME FOR FILING REPLIES AND PROPOSED ORDER
     Case 1:18-cr-00002-JLT-SKO Document 157 Filed 07/27/20 Page 2 of 2


 1   Dated: July 25, 2020                                 /s/ Ross Pearson
 2                                                        ROSS PEARSON
                                                          Assistant United States Attorney
 3
 4                                           ORDER
 5
 6   IT IS SO ORDERED.

 7      Dated:     July 27, 2020
 8                                                UNITED STATES DISTRICT JUDGE

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                -2-
                 STIPULATION TO EXTEND TIME FOR FILING REPLIES AND PROPOSED ORDER
